Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 1 of 28   PageID 9




                            EXHIBIT 1
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 2 of 28   PageID 10
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 3 of 28   PageID 11
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 4 of 28   PageID 12
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 5 of 28   PageID 13
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 6 of 28  PageID 14
                                                                  ELECTRONICALLY FILED
                                                                    2020 Jan 14 4:13 PM
                                                                     CLERK OF COURT
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 7 of 28   PageID 15
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 8 of 28   PageID 16
          Case 2:20-cv-02145-MSN-cgc  Document 1-2
                                (CIRCUIT/CHANCERY)    Filed
                                                   COURT    02/28/20 Page 9 of 28
                                                         OF TENNESSEE              PageID 17
                                                                                ELECTRONICALLY FILED
                                             140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103                                       2020 Jan 14 4:13 PM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $

 ROCHELLE WILLIS                                                                      EUREKA HOLDINGS, INC. and EUREKA
                                                                                      MULTIFAMILY GROUP, L.P.

                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 EUREKA HOLDINGS, INC.
                                                                                                                 Shelby County Sheriff
 c/o 2001 AGENCY CORPORATION
 14160 DALLAS PARKWAY, SUITE 800                                                                                 Commissioner of Insurance ($)
 DALLAS, TEXAS 75254                                                                                             Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on Allen           Gressett, Esq./Schwed, Adams & McGinley Plaintiff's

attorney, whose address is     50 N Front Street, Suite 640, Memphis, TN 38103

telephone
            (901) 313-3411                  within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 10 of 28                                       PageID 18
                                               RETURN OF SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 11 of 28   PageID 19




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ROCHELLE WILLIS VS EUREKA HOLDINGS INC

    Case Number:             CT-0190-20

    Type:                    SUMMONS ISSD TO MISC




                                                  David Smith, DC




Electronically signed on 01/15/2020 08:00:14 AM
         Case 2:20-cv-02145-MSN-cgc   Document 1-2
                                (CIRCUIT/CHANCERY)   Filed
                                                   COURT OF02/28/20
                                                           TENNESSEE Page 12 of 28   PageID 20
                                                                                 ELECTRONICALLY FILED
                                             140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103                                       2020 Jan 14 4:13 PM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $

 ROCHELLE WILLIS                                                                      EUREKA HOLDINGS, INC. and EUREKA
                                                                                      MULTIFAMILY GROUP, L.P.

                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 EUREKA MULTIFAMILY GROUP, L.P.
                                                                                                                 Shelby County Sheriff
 c/o 2001 AGENCY CORPORATION
 14160 DALLAS PARKWAY, SUITE 800                                                                                 Commissioner of Insurance ($)
 DALLAS, TEXAS 75254                                                                                             Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on Allen           Gressett, Esq./Schwed, Adams & McGinley Plaintiff's

attorney, whose address is     50 N Front Street, Suite 640, Memphis, TN 38103

telephone
            (901) 313-3411                  within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 13 of 28                                       PageID 21
                                               RETURN OF SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 14 of 28   PageID 22




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ROCHELLE WILLIS VS EUREKA HOLDINGS INC

    Case Number:             CT-0190-20

    Type:                    SUMMONS ISSD TO MISC




                                                  David Smith, DC




Electronically signed on 01/15/2020 08:00:14 AM
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 15 of 28   PageID 23
                                                                   ELECTRONICALLY FILED
                                                                     2020 Jan 14 4:13 PM
                                                                      CLERK OF COURT
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 16 of 28   PageID 24
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 17 of 28   PageID 25
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 18 of 28   PageID 26
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 19 of 28   PageID 27
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 20 of 28   PageID 28
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 21 of 28   PageID 29
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 22 of 28   PageID 30
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 23 of 28   PageID 31
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 24 of 28   PageID 32
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 25 of 28   PageID 33
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 26 of 28   PageID 34
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 27 of 28   PageID 35
Case 2:20-cv-02145-MSN-cgc Document 1-2 Filed 02/28/20 Page 28 of 28   PageID 36
